         Case 1:14-cv-03319-RWS Document 79 Filed 07/18/16 Page 1 of 1
                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

 THOMAS E. SMITH, SR.,
 Individually and as Administrator of
 the Estate of OK HUI SMITH, §
 deceased,
                        Plaintiff,                   CIVIL ACTION FILE
 v.                                                  NO. 1:14-cv-03319-RWS
 WILLIAM H. VAN LAAR, DO and
 MCDONOUGH PRIMARY CARE,
 INC.,
                        Defendants.

                       AMENDED JUDGMENT ON JURY VERDICT

       This action came before the Honorable Richard W. Story, U. S. District Judge for

trial before a jury and the Court. The issue having been duly tried, and the jury having

rendered its verdict, it is

       ORDERED AND ADJUDGED that judgment is hereby entered in favor of the

Plaintiff and against the Defendants, in the amount of $4,913,356.16.

       Dated at Atlanta, Georgia, this 18th day of July, 2016.

                                                 JAMES N. HATTEN
                                                 DISTRICT COURT EXECUTIVE and
                                                 CLERK OF COURT


                                           By: s/Barbara D. Boyle
                                               Deputy Clerk
Prepared, filed, and entered
in the Clerk's Office
    July 18, 2016
James N. Hatten
Clerk of Court
By: B.D. Boyle
        Deputy Clerk
